                    Case: 5:23-cr-00088-SO Doc #: 1 Filed: 02/02/23 1 of 1. PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the                                                 ),/('
                                                   NorthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                       Ohio                               2:18 pm Feb 02 2023
                                                                                               &OHUN
                                                                                                   N86'LVWULFWW&RXUWW
                  United States of America                      )                             1RUWKHUQQ'LVWULFWWRII2KLR
                             v.                                 )                                       $NURQ
                                                                )      Case No. 0-$0.
            CODY SEBASTIAN STOKOVICH                            )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     2/2/2023                in the county of               Holmes            in the
     Northern          District of            Ohio          , the defendant(s) violated:

            Code Section                                                  Offense Description
Title 18, United States Code,                 Felon in Possession of a Firearm
Section 922(g)(1)




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u


                                                                                           Complainant’s signature

                                                                                 Agent Patricia A. Richardson, MEDWAY
6ZRUQWRYLDWHOHSKRQHDIWHUVXEPLVVLRQE\UHOLDEOH                                        Printed name and title
HOHFWURQLFPHDQV)HG5&ULP3 G DQG



Date:             02/02/2023
                                                                                              Judge’s signature

City and state:                          Akron, Ohio                          Amanda M. Knapp, U.S. Magistrate Judge
                                                                                            Printed name and title
